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                 EXHIBIT J
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                                                                            5   Facsimile:     (415) 813-2045
                                                                            6   Attorneys for Defendants
                                                                                COUNTY OF NAPA, COUNTY OF NAPA SHERIFF’S
                                                                            7   DEPARTMENT, DEPUTY TIMOTHY REID
                                                                            8                                 UNITED STATES DISTRICT COURT
                                                                            9                                NORTHERN DISTRICT OF CALIFORNIA
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




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                                       180 Montgomery Street, Suite 1200
                                        San Francisco, California 94104




                                                                           11   RENEE LEPAGE, an individual,                  Case No.: 3:17-cv-00600-LB
                                                                           12                         Plaintiff,              Magistrate Judge Laurel Beeler
                                                                           13         v.                                      PROPOSED VOIR DIRE QUESTIONS BY
                                                                                                                              DEFENDANTS
                                                                           14   COUNTY OF NAPA; COUNTY OF
                                                                                NAPA SHERIFF’S DEPARTMENT;                    Trial:   October 15, 2019
                                                                           15   AND DEPUTY TIMOTHY REID,
                                                                           16                         Defendants.
                                                                           17

                                                                           18         1. Have you, a relative or a close friend been arrested by the police? If so, did you
                                                                           19              believe the police acted inappropriately? If so in what way?
                                                                           20         2. Have you ever made a complaint against the police for actions you observed? Please
                                                                           21              explain?
                                                                           22         3. Have you or anyone you know filed a lawsuit against a police officer?
                                                                           23         4. Have you been the subject of, or observed or learned of a relative or close friend, who
                                                                           24              has been the subject of verbal abuse by the police? Please explain?
                                                                           25         5. Have you, a relative or a close friend been the subject of use of force by the police?
                                                                           26              Please explain.
                                                                           27         6. Have you observed the use of force by the police on someone else? Please explain.
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                                                                            1         7. Does anyone believe the police have too much latitude to use force? If so, please
                                                                            2             explain.
                                                                            3         8. Does anyone believe police officers lie to justify the use of force? If so, please explain.
                                                                            4
                                                                                Dated: September 5, 2019                 ALLEN, GLAESSNER,
                                                                            5                                            HAZELWOOD & WERTH, LLP
                                                                            6

                                                                            7                                            By:___Dale L. Allen, Jr._______________
                                                                                                                            DALE L. ALLEN, JR.
                                                                            8                                               PHILIP J. DOWNS, JR.
                                                                                                                            Attorneys for Defendants
                                                                            9
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                                                                            COUNTY OF NAPA, COUNTY OF NAPA
                                                                                                                            SHERIFF’S DEPARTMENT, DEPUTY
                                                                           10                                               TIMOTHY REID
                                       180 Montgomery Street, Suite 1200
                                        San Francisco, California 94104




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